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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
      Plaintiff

        v.                                               Criminal No. 07-488 (ADC)

 [56] YAJAIRA URRUTIA DE ARMAS ,
        Defendant.



              ORDER ADOPTING REPORT AND RECOMMENDATION

      Before the Court is an unopposed Report and Recommendation issued by Magistrate-

Judge Camille Vélez-Rivé on October 28, 2008. (Docket No. 759). In said Report and

Recommendation the Magistrate-Judge recommends that: defendant Yajaira Urrutia De

Armas    be adjudged guilty of the offenses charged in Count Seven (T. 18, U.S.C. §§

924(c)(1)(A)(I) and 2) inasmuch as, her plea of guilty was intelligently, knowingly and

voluntarily entered.

        Neither party has filed objections to the Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).
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       After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby APPROVES

and ADOPTS the Magistrate-Judge’s Report and Recommendation in its entirety.

       Accordingly, a judgment of conviction is to be entered as to Count Seven of the

indictment in the above-captioned case.

       The sentencing hearing is set for January 12, 2009 at 11:00 a.m.

       IT IS SO ORDERED.

       At San Juan, Puerto Rico, this 26th day of November, 2008.



                                               S/AIDA M. DELGADO-COLON
                                               United States District Judge
